Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19           PageID.83   Page 1 of 31



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                                                      Honorable Nancy G. Edmunds
                        Plaintiff,
vs                                                    Case No. 18cr – 20559

D-1 KAMEL MOHAMMAD RAMMAL
and
D-2 NASSIF SAMI DAHER,

                  Defendants.
______________________________/

  MOTION TO DISCOVER EVIDENCE SECURED PURSUANT TO THE
    FOREIGN INTELLIGENCE SURVEILLANCE ACT OF 1978, AS
              AMENDED BY 50 U.S.C. §§ 1801 -1802

        Defendant Nassif Sami Daher through lead counsel Amir Makled, assisted

by Roy Carleton Howell, moves to discover evidence secured pursuant to the

Foreign Intelligence Surveillance Act of 1978, as amended by 50 U.S.C. §§ 1801 -

1802.

        In support of the motion, defendant submits a Brief with points and

authorities. Moreover, defendant also files an Order for the court’s approval.

                                     Respectfully submitted,


                                     /s/ Amir Makled
                                     Amir Makled (P76306)
                                     Hall Makled
                                     Attorney for Defendant Nassif Sami Daher
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19       PageID.84    Page 2 of 31




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                                Roy Carleton Howell
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                         CERTIFICATE OF SERVICE

 I, Amir Makled, respectfully certify that a copy of the foregoing motion was filed
via ECF and service of process was executed upon all counsel of record on this
__8th_______ day of February 2019.



                                Respectfully submitted,


                                /s/ Amir Makled
                                Amir Makled (P76306)
                                Hall Makled
                                Attorney for Defendant Nassif Sami Daher
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Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19   PageID.85   Page 3 of 31




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                                             Honorable Nancy G. Edmunds
                    Plaintiff,
vs                                           Case No. 18cr – 20559

D-1 KAMEL MOHAMMAD RAMMAL
and
D-2 NASSIF SAMI DAHER,

                  Defendants.
______________________________/



BRIEF IN SUPPORT OF MOTION TO DISCOVER EVIDENCE SECURED PURSUANT
TO THE FOREIGN INTELLIGENCE SURVEILLANCE ACT OF 1978, AS AMENDED
                       BY 50 U.S.C. §§ 1801 – 1812




                                     i
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19       PageID.86   Page 4 of 31



                       TABLE OF CONTENTS
Table of Authorities…………………………………………………………iv, v, vi

Introduction………………………………………………………………….……..1

          a. The Background of Defendant Nassif Sami Daher………………..……..1

          b. Defendant Nassif Sami Daher is Not a Threat to National Security……..2

Argument………………………………………………………………………..….3

   I.        THE GOVERNMENT HAS PROVIDED NOTICE OF INTENT TO USE
             FOREIGN INTELLIGENCE SURVEILLANCE INFORMATION AT
             TRIAL………………………………………………………........………3

   II.       PURSUANT TO 50 U.S.C.A. § 1806(f) AN IN CAMERA AND EX
             PARTE REVIEW WILL TAKE PLACE BY THE DISTRICT
             COURT……………………………………………….………………….3

   III.      DEFENDANT REQUESTS A COPY OF THE ATTORNEY
             GENERAL’S AFFIDAVIT ATTESTING THAT DISCLOSURE OF
             EVIDENCE WOULD HARM NATIONAL SECURITY…………….....5

   IV.       IT IS NECESSARY AND PROPER TO MAKE AN ACCURATE
             DETERMINATION    OF   THE   LEGALITY  OF   THE
             SURVEILLANCE…………………………………………………..……6

   V.        HERE SUB JUDICE, THE SURVEILLANCE WAS FOR DOMESTIC
             INTELLIGENCE INFORMATION, OR ALTERNATIVELY WAS A
             SIGNIFICANT AMOUNT OF NON-FOREIGN INTELLIGENCE
             INFORMATION, BOTH IN VIOLATION OF THE MINIMIZATION
             PROCEDURE………………………………………………………...….7

                 a. Agent of a Foreign Power Requirement………………………….8

                 b. The Facts Sub Judice Do Not Justify FISA……………...………8




                                          ii
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19      PageID.87    Page 5 of 31



   VI.   FISA WAS USED BY THE GOVERNMENT FOR EVIDENCE
         GATHERING AGAINST AN AMERICAN DEFENDANT FOR
         DOMESTIC     CRIMINAL   INVESTIGATION    AND
         PROSECUTION………………………………………………………..11

   VII. THE GOVERNMENT OBTAINED A FISA ORDER AGAINST
        DEFENDANT EVENTHOUGH THEIR PRIMARY PURPOSE WAS
        FOR DOMESTIC CRIMINAL PROSECUTION………………….…..13


   VIII. AN UNBROKEN LINE OF DECISIONS REQUIRES A TRADITIONAL
         WARRANT AND PROBABLY CAUSE FOR ELECTRONIC
         SURVEILLANCE AND PHYSICAL SEARCHES UNLESS A
         SIGNIFICANT PURPOSE OF THE GOVERNMENT ACTION IS THE
         COLLECTION OF FOREIGN INTELLIGENCE……………………...14


         a. Historical Background of Fourth Amendment to Electronic
            Surveillance………………………………………………………….15

         b. Investigation of Domestic Criminal Activity is Not the Raison d’etre of
            National Security Surveillance………….……………...……………21

Conclusion…………………………………………………………………...……22




                                        iii
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19                    PageID.88   Page 6 of 31



                                       TABLE OF AUTHORITIES

CASES:

*Alderman v. U.S., 394 U.S. 165 (1969)……………………………….….6, 7, 11

American Civil Liberties Union v. Clapper, 785 F. 3d 787, 792-793 (2d Cir.

           2015)………………………………………………………….……………3

Berger v. New York, 388 U.S. 41 (1967)………….…………………….15, 16, 17
*
    In Re Sealed Case, 310 F.3d 717, 733 (Foreign. Int. Surv. Ct. Rev. (2002)………

           …………………………………………………………………...2, 11, 12, 13

Katz v. United States, 389 U.S. 347 (1967)………………………………..…15, 16

Mincey v. Arizona, 437 U.S. 385, 393 (1978)……………………………………17

U.S. v. Aziz, 288 F. Supp 3d 363 (M.D. Pa. 2017)……………………..….……..13

U.S. v. Belfield, 692 F.2d 141, 147 (D.C. Cir. 1982)………………………………7

U.S. v. Butenko, 494 F.2d 593, 606 (3d Cir. 1974)……………………………….21

U.S. v. Duggan, 743 F.2d 59, 70 (2d Cir. 1984)……………………….…………11

U.S. v. Duka, 671 F.3d 329 (3d Cir. 2011)…………………………….………5, 13

U.S. v. Johnson, 952 F.2d 565, 572 (1st Cir. 1991)…………………….…………21

U.S. v. Mahamud, 838 F. Supp.2d 881 (D. Minn. 2012)……………….………….7

U.S. v. Thomas, 752 F.Supp. 75, 79 (W.D. N.Y. 1990)………………...………….7

U.S. v. U.S. District Court (Keith), 407 U.S. 297 (1972)………..……17, 18, 19, 20


*
    Authorities upon which we chiefly rely are marked with asterisks.

                                                           iv
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19    PageID.89   Page 7 of 31



U.S. v. Warsame, 547 F.Supp.2d 982, 987 (D. Minn. 2008)………………………7

STATUTES:

Foreign Intelligence Surveillance Act, 50 U.S.C. § 1806(c)……………………….3

Foreign Intelligence Surveillance Act, 50 U.S.C. § 1806(f)/..………………..3, 4, 6

Foreign Intelligence Surveillance Act, 50 U.S.C. § 1806(k)………….…………..14

Foreign Intelligence Surveillance Act of 1978, as Amended by, 50 U.S.C. §§ 1801

      1812…………………………………………………………….…………..22

Foreign Intelligence Surveillance Act, 50 U.S.C. § 1804(a)(5)………………..…10

Foreign Intelligence Surveillance Act, 50 U.S.C. § 1805(a)(4)…………………..11

Foreign Intelligence Surveillance Act, 50 U.S.C. § 1804(b)……………….……..11

CONGRESSIONAL RECORD:

S. Rep. No. 95-701, at 63 (1978) (Intelligence Committee), 1978 U.S.C.C.A.N
      3973, 4032…………………………………………………………………..6

S. Rep. No. 95-701, at 64 (1978) (Intelligence Committee), 1978 U.S.C.C.A.N
      3973, 4033……………………………………………………………….….6

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147 Cong. Rec. S11004 (Oct. 25, 2001)…………………………………………..12

147 Cong. Rec. S11021 (Oct. 25, 2001)……………………………...…………...13

TREATISES:

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Part III. Title III. and FISA Applications and Orders, Chapter 12, Foreign


                                       v
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19       PageID.90    Page 8 of 31



Intelligence and National Security Surveillance of Targets who are within the United
States……………………..………………………………………………………5, 6

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Surveillance § 9:46, October 2018. Chapter 9. Foreign Intelligence Surveillance IX.
Minimization Under FISA………………………….………………………..,,,10, 11

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Intelligence, And Law Enforcement,” 28 Harv. J.L. Pub. Pol’y 319 at 347 (Spring
2005)………………………………………………………………………..…12, 13

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Foreign Power Requirement) 40 Nov Champion 22 (November, 2016). National
Association of Criminal Defense Lawyers, Inc……………………………………8

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Loy. U. Chi. L.J. 933, 974-77 (2002)…………………………………………..….15

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Infringement Upon the Privacy of Americans in the Name of ‘Intelligence
Investigations,’ ” 150 U. Pa. L. Rev. 1651, 1674-83 (2002)……………………….15


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Evanier and Pantoliano, Who’s Sorry Now: The True Story of a Stand-Up Guy
(Createspace Independent Pub: November 30, 2012)……………………..……….2




                                         vi
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19        PageID.91    Page 9 of 31



                                INTRODUCTION

      a. The Background of Defendant Nassif Sami Daher

      Nassif Sami Daher was born on March 15, 1991 in Dearborn, Michigan at

Oakwood Hospital (now Beaumont Hospital). He has never been convicted or a

crime. As a typical “American boy” he grew up playing video games (e.g. “Grand

Theft Auto,” “Halo,” “Call of Duty”). Sami, as he is called by friends, spent

countless Saturdays at the movies memorizing the lines of Hollywood star Tom Cruz

as he killed bad guys in Mission Impossible, and got the beautiful girls in Risky

Business. Like any “American boy,” Sami and his buddies exchanged stories about

beautiful women, karate, guns and violence, money and travel.

      Sami has never killed anyone, nor slept with Hollywood stars or the countless

women on the cover of Penthouse. He never joined organized crime or terrorist

groups.

      Sami’s ethnic heritage is Lebanese. He has visited family in Lebanon and was

never convicted of a crime while abroad. He is not guilty or responsible for the acts

of others in his Michigan community, or the Lebanese community of his extended

family.

      (Guilt by Ethnic Association)

      In the biography of Italian-American actor Joseph Peter Pantoliano, he talks

about growing up Italian in New Jersey. Growing up Italian in the 1950s and 60s in


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Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19          PageID.92    Page 10 of 31



 Hoboken, NJ meant knowing neighbors involved in organized crime. See, Who’s

 Sorry Now: The True Story of a Stand-Up Guy by Evanier and Pantaliano

 (Createspace Independent Pub: November 30, 2012). It is racist to assume Italian-

 American actor Pantiliano is Mafia because members of the mob lived in his

 neighborhood. Likewise, it is also racists to conclude that Sami is a terrorist because

 he visited family in Lebanon.

       b. Defendant Nassif Sami Daher is Not a Threat to National Security.

       Sami is charged with the non-violent malum prohibitum offense of “food

 stamp fraud.” The government has no evidence whatsoever that he committed a

 malum in se crime, or act(s) against National Security. FISA was used by the

 government for evidence gathering against Sami for domestic criminal investigation

 and prosecution beyond the scope of the statutory definition of “foreign intelligence

 information.” See, In Re Sealed Case, 310 F.3d 717, 733 (Foreign Int. Surv. Ct. Rev.

 2002).

       Sami is a nerd with a big ego and imagination, but, he is not a terrorist or a

 National Security threat.




                                            2
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19            PageID.93    Page 11 of 31



                                      ARGUMENT

    I.       THE GOVERNMENT HAS PROVIDED NOTICE OF INTENT TO
             USE FOREIGN INTELLIGENCE SURVEILLANCE
             INFORMATION AT TRIAL.

          Pursuant to 50 U.S.C. § 1806(c) the government has provided defendant

 notice of their intent to use foreign intelligence surveillance information at trial. This

 notice simply informed the defense that the government has FISA evidence, but

 provided absolutely no details regarding the reasons for the national security

 surveillance or any information thereto.

          Congress enacted FISA in response to perceived abuses of intelligence-

 gathering and surveillance procedures by federal intelligence agencies in the early

 1970s, See, American Civil Liberties Union v. Clapper, 785 F.3d 787, 792-793 (2d

 Cir. 2015).

          The defense moves to discover all evidence, intelligence, counter-intelligence,

 FISA Application, FISA Order, and all information thereto concerning surveillance

 of defendant, and the national security justification for all governmental actions

    II.      PURSUANT TO 50 U.S.C.A. § 1806(f) AN IN CAMERA AND EX
             PARTE REVIEW WILL TAKE PLACE BY THE DISTRICT
             COURT.

          When a defendant moves for discovery or suppression of FISA materials, 50

 U.S.C.A. § 1806 (f) empowers the government to invoke an entirely different, in

 camera, ex parte process:


                                             3
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19         PageID.94    Page 12 of 31




             (f) In camera and ex parte review by district court

           Whenever a court or other authority is notified pursuant to subsection (c)
           or (d) of this section, or whenever a motion is made pursuant to subsection
           (e) of this section, or whenever any motion or request is made by an
           aggrieved person pursuant to any other statute or rule of the United States
           or any State before any court or authority of the United States or any State
           to discover or obtain applications or orders or other materials relating to
           electronic surveillance or to discover, obtain, or suppress evidence or
           information obtained or derived from electronic surveillance under this
           chapter, the United States district court in the same district as the
           authority, shall, notwithstanding any other law, if the Attorney General
           files an affidavit under oath that disclosure or an adversary hearing would
           harm the national security of the United States, review in camera and ex
           parte of the application, order, and such other materials relating to the
           surveillance as may be necessary to determine whether the surveillance
           of the aggrieved was lawfully authorized and conducted. In making this
           determination, the court may disclose to the aggrieved person, under
           appropriate security procedures and protective orders, portions of the
           application, order, or other materials relating to the surveillance only
           where such disclosure is necessary to make an accurate determination of
           the legality of the surveillance.

       First, defendant requests an in camera and ex parte review by this court

 pursuant to 50 U.S.C.A. § 1806 (f). Second, defendant demands disclosure and

 review of the FISA application, FISA Order, and or materials under appropriate

 security procedures and protective orders.

       The government Attorney General must submit an affidavit to the court

 attesting under oath that disclosure or an adversary hearing would harm the national

 security. “Once such an affidavit is submitted, issues relating to FISA surveillance

 can be resolved only in a U.S. District Court. If the case is already pending in a


                                          4
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19             PageID.95    Page 13 of 31



 federal district court (e.g., a federal criminal trial), it remains there for resolution of

 FISA issues.” See, Fishman and McKenna, Wiretapping and Eavesdropping §

 12:92; December 2018. Part III. Title III and FISA Applications and Orders,

 Chapter 12. Foreign Intelligence and National Security Surveillance of Targets who

 are within the United States.

       “The government must give the district judge the FISA order, application, and

 any related materials that the judge may order produced. The court then conducts

 an ex parte, in camera inspection of these materials to determine whether the

 surveillance was lawfully authorized and conducted.” Id., at p. 2.

    III.   DEFENDANT REQUESTS A COPY OF THE ATTORNEY
           GENERAL’S AFFIDAVIT ATTESTING THAT DISCLOSURE OF
           EVIDENCE WOULD HARM NATIONAL SECURITY.

       In camera and ex parte review of all government national security evidence

 (the FISA application, FISA Order and all evidence cogent thereto) is necessary only

 if the Attorney General submits an affidavit attesting that disclosure would harm

 national security. Defendant requests a copy of the Attorney General’s affidavit

 attesting that disclosure of evidence would harm national security.

        “The statute as originally enacted required a high-ranking member of the

 executive branch to certify that the purpose of the surveillance is to obtain foreign

 intelligence information.” U.S. v. Duka, 671 F.3d 329, 338 (3d Cir. 2011).




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Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19          PageID.96    Page 14 of 31



       Where the Attorney General fails to submit an affidavit attesting that

 disclosure would harm national security, in turn discovery and suppression litigation

 will be conducted in accordance with traditional procedural rules and concepts. See,

 S. Rep. No. 95-701, at 63 (1978) (Intelligence Committee), 1978 U.S.C.C.A.N.

 3973, 4032.

    IV.    IT IS NECESSARY AND PROPER TO MAKE AN ACCURATE
           DETERMINATION    OF   THE   LEGALITY   OF  THE
           SURVEILLANCE.

       This court is empowered to disclose FISA related materials to defendant

 because “such disclosure is necessary to make an accurate determination of the

 legality of the surveillance.” See, 50 U.S.C.A. § 1806 (f); also see, Fishman and

 McKenna, Wiretapping and Eavesdropping, supra at p. 2.

       A Senate Intelligence Committee Report found that disclosures would be

 necessary where a district court judge discovers:

               indications of possible misrepresentation of fact, vague identification
               of the persons to be surveilled, or surveillance records which include a
               significant amount of non-foreign intelligence information, calling into
               question compliance with minimization standards contained in the
               [application and surveillance order]. In such cases . . . [disclosure] is
               necessary to make an accurate determination of the legality of the
               surveillance. See, S. Rep. No. 95-701, at 64 (1978) (Intelligence
               Committee), 1978 U.S.C.C.A.N. 3973, 4033, Quoting Alderman v.
               U.S., 394 U.S. 165 (1969).

       “In determining whether disclosure is necessary, the court should consider

 whether after its initial review, and irregularities are revealed, such as whether: the


                                            6
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19          PageID.97    Page 15 of 31



 materials evidence a possible misrepresentation of fact; the persons to be surveilled

 are not clearly identified; or the surveillance records include a significant amount of

 non-foreign intelligence information, indicating a possible issue with the

 minimization standard utilized.” U.S. v. Mahamud, 838 F.Supp.2d 881 (D. Minn.

 2012), citing U.S. v. Warsame, 547 F. Supp.2d 982, 987 (D. Minn. 2008), and U.S.

 v. Belfield, 692 F.2d 141, 147 (D.C. Cir. 1982), U.S. v. Thomas, 752 F.Supp. 75, 79

 (W.D. N.Y. 1990).

         In the case at bar, disclosure of FISA related materials to defendant is

 necessary and proper to make an accurate determination of the legality of the

 surveillance.

         “The task of determining those items which might have made a substantial

 contribution to the preparation of the Government’s case is too complex, and the

 margin for error too great, to rely solely upon the in camera examination by the trial

 court.” Alderman v. United States, 394 U.S. 165, at 181-182. Here sub judice, as a

 matter of law and fact this court must provide defendant’s counsel inspection and

 review of the FISA application, FISA Order, and all documents and materials

 thereto.

    V.      HERE SUB JUDICE, THE SURVEILLANCE WAS FOR
            DOMESTIC     INTELLIGENCE     INFORMATION, OR
            ALTERNATIVELY WAS A SIGNIFICANT AMOUNT OF NON-
            FOREIGN INTELLIGENCE INFORMATION, BOTH IN
            VIOLATION OF THE MINIMIZATION PROCEDURE.


                                            7
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19        PageID.98   Page 16 of 31



          a. Agent of a Foreign Power Requirement

       “Unlike a traditional warrant, the probable cause standard under FISA is not

 directed at whether there is sufficient information to believe that the defendant

 committed a crime. Instead, this requirement focuses on whether there is sufficient

 evidence to establish the relationship between the defendant and a foreign power

 (i.e. foreign government, political organization, terrorist group, etc.). Thus, the

 application must establish a reasonable, particularized ground for belief that the

 defendant himself qualifies as a foreign power, or, more likely, as an ‘agent of a

 foreign power.’ The complete definitions of ‘foreign power’ and ‘foreign agent’ are

 set forth in 50 U.S.C. § 1801. The specific probably cause requirement differs

 somewhat depending on whether the target is a United States Person.” Little and

 Quinn. “Attacking The Use of Physical Evidence Seized,” (Agent of a Foreign

 Power Requirement) 40 Nov Champion 22 (November, 2016).

          b. The Facts Sub Judice, Do Not Justify FISA.

       The indictment charges defendant with the domestic charges of “food stamp

 fraud.” The indictment against defendant states in relevant part:


        2. Beginning sometime before March 2, 2016, continuing through
        May 2017, in the Eastern District of Michigan, southern Division, D-
        1 KAMEL MOHAMAD RAMMAL [RAMMAL] and D-2 NASSIF
        SAMI DAHER [DAHER], defendants, both directly and aiding and
        abetting one another, did, having devised a scheme to defraud and to
        obtain money from the USDA by means of false and fraudulent
        pretenses and representations, and for the purpose of executing that
                                          8
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19       PageID.99   Page 17 of 31



       scheme, caused the transmission of writing, signs and signals by
       means of wire and radio transmission in interstate commerce;

       3. The object of the scheme to defraud and to obtain money by false
       and fraudulent pretenses and representations was to obtain SNAP
       funds from the USDA by purchasing benefits from SNAP recipients
       for cash at a fraction of their value, usually about 50% and then
       obtaining the full value of the benefits from the USDA by processing
       the transactions through S&R Petro’s EBT terminal as though the
       beneficiary had purchased eligible items with the benefits, a process
       known as “discounting.” The SNAP beneficiaries were willing to
       accept cash for their benefits at a highly discounted rate because it
       allowed them to use the benefits for any purpose, rather than being
       restricted to the purchase of eligible food items. The SNAP store
       engaged in discounting because it allowed the store to obtain money
       for nothing other than the use of its EBT terminal;

        4. On or about the dates indicated below, in the Eastern District of
       Michigan, southern division, the defendants specified below did, for
       the purpose of executing the above-described scheme to defraud,
       cause the transmission of writings, signs and signals by means of
       wire and radio transmission in interstate commerce, specifically
       signals from Detroit, Michigan to Austin, Texas, each such
       transmission representing a separate count of this indictment:


       COUNT:      DATE:                     DEFENDANTS:
       One    March 2, 2016                  D-1 KAMEL M. RAMMAL

       Two         April 6, 2016             D-1 KAMEL M. RAMMAL

       Three       May 31. 2016              D-1 KAMEL M, RAMMAL

       Four        June 21, 2016             D-1 KAMEL M. RAMMAL

       Five        August 12, 2016           D-1 KAMEL M. RAMMAL

       Six         September 14, 2016        D-1 KAMEL M. RAMMAL

       Seven       December 13, 2016         D-1 KAMEL M. RAMMAL
                                         9
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19                               PageID.100          Page 18 of 31




           Eight            December 20, 2016                   D-1 KAMEL MRAMMAL
                                                                D-2 NASSIF DAHER

           Nine             February 24, 2017                   D-1 KAMEL M. RAMMAL

           Ten              March 21, 2017                      D-1 KAMEL M. RAMMAL
                                                                D-2 NASSIF DAHER

           Eleven           April 27, 2017                      D-1 KAMEL M. RAMMAL

           Twelve           April 28, 2017                      D-1 KAMEL M. RAMMAL

           Thirteen         May 28, 2017                        D-1 KAMEL M. RAMMAL
                                                                D-2 NASSIF DAHER

           Fourteen         May 29, 2017                        D-1 KAMEL M. RAMMAL
                                                                D-2 NASSIF DAHER

           All in violation in Sections 1343 and 2 of title 18 of the United States
           Code.

        Defendant-2 NASSIF DAHER is alleged to have committed four domestic

 criminal transactions of “food stamp fraud.” Defendant is charged with commission

 of four non-violent, malum prohibitum acts which have absolutely nothing to do

 with national security. Here, sub judice, the minimization procedures of FISA have

 been violated by the government.1 Section 1804(a)(5) of FISA requires that the

 application for a FISA court order must contain “a statement of the proposed




 1
  The adequacy of minimization has been determined on the basis of a review of the monitors’ logs. U.S. v.
 Hovsepian, 1985 WL 5970 (C.D. Cal. 1985). “The minimization requirement obligates the government to make a
 good-faith effort to minimize the acquisition and retention of irrelevant information.” Carr, Patricia, and Creutz.
 Law of Electronic Surveillance, 2 Law of Electronic Surveillance § 9:46, October 2018. Chapter 9. Foreign
 Intelligence Surveillance IX. Minimization Under FISA.

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Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19         PageID.101    Page 19 of 31



 minimization standard.” See, U.S. v. Duggan, 743 F.2d 59, 70 (2d Cir. 1984).

 Section 1805(a)(4) states that the FISA judge to whom the application has been made

 must find that “the proposed minimization procedures meet the definition of

 minimization procedures under 1804(b) of the title.” Carr, Patricia, and Creutz.

 Law of Electronic Surveillance, 2 Law of Electronic Surveillance § 9:46, October

 2018. Chapter 9. Foreign Intelligence Surveillance IX. Minimization Under FISA.

       “If the surveillance is found to have been unlawful, and if a petitioner is found

 to have standing, the Government must disclose to him the records of those

 overheard conversations which the Government was not entitled to use in building

 its case against him.” Alderman v. United States, 394 U.S. 165, at 180-185.


    VI.   FISA WAS USED BY THE GOVERNMENT FOR EVIDENCE
          GATHERING AGAINST AN AMERICAN DEFENDANT FOR
          DOMESTIC CRIMINAL INVESTIGATION AND PROSECUTION.

       In the case at bar, FISA was used by the government for evidence gathering

 against an American defendant for domestic criminal investigation and prosecution

 beyond the scope of the statutory definition of “foreign intelligence information.”

 In Re Sealed Case, 310 F.3d 717, 733 (Foreign Int. Surv. Ct. Rev. 2002).

             To be sure, some Senate judiciary committee members
             including the Chairman were concerned that the amendment
             might grant too much authority to the Justice Department –
             and FISA court. Senator Leahy indicated that the change to
             significant purpose was “very problematic” since it would
             “make it easier for the FBI to use a FISA wiretap to obtain
             information where the Government’s most important
                                           11
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19          PageID.102     Page 20 of 31



                motivation for the wiretap is for use in a criminal prosecution.
                147 Cong. Rec. S10593 (Oct. 11, 2001). Therefore he
                suggested that “it will be up to the courts to determine how far
                law enforcement agencies may use FISA for criminal
                investigation and prosecution beyond the scope of the
                statutory definition of “foreign intelligence information,” 147
                Cong Rec. S11004 (Oct. 25, 2001). Also see, In Re Sealed
                Case, supra at p. 733.

       In the case at bar, it is within this court’s authority to determine whether the

 government may use FISA for purely domestic criminal investigation and

 prosecution beyond the scope of the statutory definition of foreign intelligence

 information.

       “Furthermore, if the proposed target is a U.S. person, the judge must

 determine that the certifications and statements are not ‘clearly erroneous.’…the

 most important certifications subject to judicial review under this standard are that:

 (1) the information to be obtained is ‘foreign intelligence information;’ and (2) ‘the

 purpose’ (under the original FISA) or ‘a significant purpose’ (under the FISA as

 amended by the Patriot Act) of the proposed surveillance ‘is to obtain foreign

 intelligence information.’ Also important are the requirements that the certifying

 official designate the type of information sought, using the typology of the FISA’s

 definition of ‘foreign intelligence information,’ and state the basis for his or her

 certification that the information is the type of foreign intelligence information

 designated. All of these add up to a requirement that the purpose (or a significant

 purpose) of the proposed surveillance of a foreign power or its agents be to obtain

                                            12
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19            PageID.103   Page 21 of 31



 one of the three types of counterintelligence or one of the two types of (plain)

 intelligence identified in the FISA’s definition of ‘foreign intelligence’ information.”

 Seamon and Gardner. “The Patriot Act And The Wall Between Foreign Intelligence,

 And Law Enforcement,” 28 Harv. J.L. Pub. Pol’y 319 at 347 (Spring 2005).

       “Among other things the PATRIOT Act amended FISA to require

 certification that foreign intelligence gathering is ‘a significant purpose’ rather than

 ‘the purpose’ of the surveillance or search intended.” U.S. v. Duka, 671 F.3d 329 at

 336-337 (3d Cir. 2011); also see, U.S. v. Aziz, 228 F. Supp. 3d 363 (M.D. Pa. 2017).

    VII. THE GOVERNMENT OBTAINED A FISA ORDER AGAINST
         DEFENDANT EVENTHOUGH THEIR PRIMARY PURPOSE WAS
         FOR DOMESTIC CRIMINAL PROSECUTION.

       Here, sub judice, the government obtained a FISA Order against defendant

 even though their primary purpose was for a domestic criminal prosecution, and their

 action(s) violated the Fourth Amendment. In Re Sealed Case, 310 F.3d 717, 733

 (Foreign Int. Surv. Ct. Rev. 2002).

             Senator Feingold recognized that the change to “significant purpose”
             meant that the government could obtain a FISA warrant “even if the
             primary purpose is a criminal investigation,” and was concerned that this
             development would not respect the protections of the Fourth Amendment.
             147 Cong. Rec. S11021 (Oct. 25, 2001). Also see, In Re Sealed Case, Id.
             at p. 733.

       Congress     recognized     the   dangers     inherent     in   intelligence   (or

 counterintelligence) gathering and domestic law enforcement by consummation of

 § 1806 k:

                                           13
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19           PageID.104     Page 22 of 31



       (k) Consultation with Federal law enforcement officer


          (1) Federal officers who conduct electronic surveillance to acquire foreign
              intelligence information under this title may consult with Federal law
              enforcement officers to coordinate efforts to investigate or protect
              against

                 a. Actual or potential attack or other grave hostile acts of a foreign
                    power or an agent of a foreign power; or

                 b. Sabotage or international terrorism by a foreign power or an
                    agent of a foreign power; or

                 c. Clandestine intelligence activities by an intelligence service or
                    network of a foreign power.


       First, in the case at bar, is there evidence of “actual or potential attack or other

 grave hostile acts of a foreign power or an agent of a foreign power.” The answer is

 no. Second, is there evidence of “sabotage or international terrorism by a foreign

 power or an agent of a foreign power.” The answer is no. Third, is there evidence

 of “clandestine intelligence activities by an intelligence service or network of a

 foreign power or by an agent of a foreign power.” The answer is no. Defendant has

 committed none of the above international criminal acts. The government’s case

 must be dismissed with prejudice for violation of § 1806 (k).

    VIII. AN UNBROKEN LINE OF DECISIONS REQUIRES A
          TRADITIONAL WARRANT AND PROBABLE CAUSE FOR
          ELECTRONIC SURVEILLANCE AND PHYSICAL SEARCHES
          UNLESS A “SIGNIFICANT PURPOSE” OF THE GOVERNMENT
          ACTION IS THE COLLECTION OF FOREIGN INTELLIGENCE.


                                            14
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19                            PageID.105        Page 23 of 31



         FISA, both in its original form and as amended by the USA PATRIOT Act,

 does not permit criminal investigators to use the statute to conduct domestic criminal

 investigations. The use of FISA to conduct domestic criminal investigations violates

 the Fourth Amendment prohibition against unreasonable searches and seizures. 2

              a. Historical Background of Fourth Amendment to Electronic
                 Surveillance

         The Supreme Court first applied the Fourth Amendment to electronic

 surveillance fifty two years ago in Katz v. United States, 389 U.S. 347 (1967), and

 Berger v. New York, 388 U.S. 41 (1967). Katz involved the surreptitious recording

 of telephone calls though a recording device attached to the outside of a telephone

 booth. The Katz Court declared “[t]he Government’s activities in electronically

 listening to and recording the petitioner’s words violated the privacy upon which he

 justifiably relied while using the telephone booth and thus constituted a ‘search and

 seizure’ within the meaning of the Fourth Amendment.” Id. at 353. The Court held

 that the warrantless surveillance violated the Fourth Amendment, in part because the

 government agents failed, “before commencing the search, to present their estimate

 of probable cause for detached scrutiny by a neutral magistrate.” Id. at 356. The

 Court rejected the government’s request for a “telephone booth” exception to the



 2
  For discussions of the Fourth Amendment implications of the “significant purpose” provisions, see Jennifer C.
 Evans, Hijacking Civil Liberties: The USA PATRIOT Act of 2001, 33 Loy. U. Chi. L.J. 933, 974-77 (2002), and
 Sharon H. Rackow, How the USA PATRIOT Act Will Permit Governmental Infringement Upon the Privacy of
 Americans in the Name on “intelligence’ Investigations, 150 U. Pa. L. Rev. 1651, 1674-83 (2002),

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Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19          PageID.106   Page 24 of 31



 warrant requirement. Id. at 358. It expressly left open however, “[w]hether

 safeguards other than prior authorization by a magistrate would satisfy the Fourth

 Amendment in a situation involving the national security.” Id. at 358 n.23.

       In Berger, which arose from electronic surveillance conducted by state law

 enforcement officers, the Court emphasized that the traditional probable cause and

 particularity requirements apply to warrants or other orders authorizing such

 surveillance. See 388 U.S. at 55-56. The Court found that the New York Statute

 authorizing the surveillance violated the Fourth Amendment (1) because it did not

 “require belief that any particular offense has been or is being committed; nor that

 the ‘property’ sought, the conversations, be particularly described”; (2) because it

 failed to limit the duration of the surveillance or to impose sufficiently stringent

 requirements on renewals of the authorizations; and (3) because the statute “has no

 requirement for notice as do conventional warrants, nor does it overcome this defect

 by requiring some showing of special facts.” Id. at 58-60.

       Berger rejected the state’s argument that Fourth Amendment requirements

 should be relaxed because the surveillance statute was essential in its fight against

 organized crime. In terms that ring as true as today as they did half a century ago,

 the Court declared:

       [W]e cannot forgive the requirements of the Fourth Amendment
       in the name of the law enforcement. This is no formality that we
       require today but a fundamental rule that has long been recognized

                                          16
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19         PageID.107    Page 25 of 31



       as basic to the privacy of every home in America. While the
       requirements of the Fourth Amendment are not inflexible, or
       obtusely unyielding to the legitimate needs of law enforcement, it
       is not asking too much that officers be required to comply with the
       basic command of the Fourth Amendment before the innermost
       secrets of one’s home or office are invaded. Few threats to liberty
       exist which are greater than that posed by the use of eavesdropping
       devices.

 388 U.S. at 62-63 (quotation and citation omitted); see, e.g., Mincey v. Arizona, 437

 U.S. 385, 393 (1978) (“[T}he mere fact that law enforcement may be made more

 efficient can never by itself justify disregard of the Fourth Amendment…. The

 investigation of crime would always be simplified if warrants were unnecessary. But

 the Fourth Amendment reflects the view of those who wrote the Bill of Rights that

 the privacy of a person’s home and property may not be totally sacrificed in the name

 of maximum simplicity in enforcement of the criminal law.”) The FISA opinion

 makes clear that the “threat to liberty” that eavesdropping poses only has grown with

 technological advances over the past decades.

       The Supreme Court addressed the limits that the Fourth Amendment places

 on electronic surveillance conducted in the name of national security in United States

 v. United States District Court (Keith), 407 U.S. 297 (1972). Keith considered the

 constitutional limits on surveillance directed at domestic security threats; the Court

 noted that the case “requires no judgement on the scope of the President’s

 surveillance power with respect to the activities of foreign powers, within or without


                                           17
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19         PageID.108     Page 26 of 31



 this country.” Id. at 308; see id. at 321-22 (‘We have not addressed, and express no

 opinion as to, the issues which may be involved with respect to activities of foreign

 powers or their agents.”) Although the Court recognized both the weight of the

 executive’s interest in protecting the national security and the value of electronic

 surveillance in detecting security threats, it found that “[t]here is understandably, a

 deep-seated uneasiness and apprehension that this [surveillance] capability will be

 used to intrude upon cherished privacy of law-abiding citizens. We look to the Bill

 of Rights to safeguard this privacy.” Id. at 312-13 (footnote omitted). The Court

 emphasized the need to protect both First and Fourth Amendment rights against

 government investigation based on alleged threats to national security:

       History abundantly documents the tendency of Government—
       however benevolent and benign its motives— to view with
       suspicion those who most fervently dispute its policies. Fourth
       Amendment protections become more necessary when the targets of
       official surveillance may be those suspected of unorthodoxy in their
       political beliefs. The danger to political dissent is acute where the
       Government attempts to act under so vague a concept as “domestic
       security.” Given the difficulty of defining the domestic security
       interest, the danger of abuse in acting to protect that interest
       becomes apparent. Id. at 314.

       The Court emphasized the importance of the Fourth Amendment warrant

 requirement in protecting the right of privacy. It identified as “the very heart of the

 Fourth Amendment directive” that




                                           18
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19         PageID.109    Page 27 of 31



       where practical, a governmental search and seizure should represent
       both the efforts of the officer to gather evidence of wrongful acts and
       the judgement of the magistrate that the collected evidence is sufficient
       to justify invasion of a citizen’s private premises or conversation.
       Inherent in the concept of a warrant is its issuance by a “neutral and
       detached magistrate.” The further requirement of “probable cause”
       instructs the magistrate that baseless searches shall not proceed. Id. at
       316 (citations omitted).

       Furthermore, the Court made clear that the decision to conduct electronic

 surveillance cannot be left to the discretion of law enforcement officials:

       These Fourth Amendment freedoms cannot properly be guaranteed if
       domestic security surveillances may be conducted solely within the
       discretion of the Executive Branch. The Fourth Amendment does not
       contemplate the executive officers of Government as neutral and
       disinterested magistrates. Their duty and responsibility are to enforce
       the laws, to investigate, and to prosecute. But those charged with this
       investigative and prosecutorial duty should not be the sole judges of
       when to utilize constitutionally sensitive means in pursuing their tasks.
       The historical judgement, which the Fourth Amendment accepts, is that
       unreviewed executive discretion may yield too readily to pressures to
       obtain incriminating evidence and overlook potential invasions of
       privacy and protected speech. Id. at 316-17 (citation and footnote
       omitted).


       The Court rejected the executive’s argument that an exception to the Fourth

 Amendment warrant requirement should be recognized for domestic security

 surveillance. In particular, the Court did not find persuasive the executive’s claims

 that “internal security matters are too subtle and complex for judicial evaluation”



                                           19
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19        PageID.110     Page 28 of 31



 and that “prior judicial approval will fracture the secrecy essential to official

 intelligence gathering.” Id. at 320.

       Finally, Keith underscored the differences between surveillance for criminal

 investigative purposes and surveillance for intelligence purposes. It noted, for

 example, that “[t]he gathering of security intelligence is often long range and

 involves the interrelation of various sources and types of information”; that “[t]he

 exact targets of such surveillance may be more difficult to identify than in

 surveillance operations against many types of crimes specified in Title III”; and that

 “[o]ften, too, the emphasis of domestic intelligence gathering is on the prevention of

 unlawful activity or the enhancement of the Government’s preparedness for some

 possible future crisis or emergency.” Id. at 322. In light of these “potential

 distinctions between Title III criminal surveillances and those involving the

 domestic security,” the Court suggested that Congress “may wish to consider

 protective standards for the latter which differ from those already prescribed for

 specified crimes in Title III,” id.--a suggestion that led ultimately to the enactment

 of FISA in 1979. The Court added that “[d]ifferent standards may be compatible

 with the Fourth Amendment if they are reasonable both in relation to the legitimate

 need of Government for intelligence information and the protected rights of our

 citizens.” Id. at 322-23 (emphasis added).




                                          20
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19         PageID.111    Page 29 of 31



           b. Investigation of Domestic Criminal Activity Is Not the Raison
              d’etre of National Security Surveillance

       A synthesis of Katz, Berger, and Keith draws a line between surveillance

 conducted by law enforcement officials for the purpose of investigating crime--

 which requires the traditional warrant based on probable cause, as outlined in Berger

 and codified in 18 U.S.C § 2518--and surveillance conducted by intelligence

 officials for the purpose of obtaining intelligence information for national security.

       The USA PATRIOT Act, both Title III and FISA clearly recognized this

 constitutionally-mandated distinction. And in the many years following Keith,

 before and after the enactment of FISA, courts have relied upon the Supreme

 Court’s distinction between “criminal surveillances” and surveillance conducted

 for intelligence purposes to hold that electronic surveillance may proceed without

 the protections of a traditional warrant based on probable cause only if a court

 determines that the “significant purpose” of the surveillance is to obtain foreign

 intelligence information. See, e.g., United States v. Johnson, 952 F.2d 565, 572 (1st

 Cir. 1991). FISA is not to be used as an end around the Fourth Amendment.

       United States v. Butenko, 494 F.2d 593, 606 (3d Cir. 1974) (en banc) (“Since

 the primary purpose of these searches is to secure foreign intelligence information,

 a judge, when reviewing a particular search must, above all, be assured that this was

 in fact its significant purpose and that the accumulation of evidence of criminal

 activity was incidental.”) In the case at bar the purpose of the FISA Order was to
                                           21
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19        PageID.112    Page 30 of 31



 secure foreign intelligence for National Security. However, the government’s

 evidence gathering against defendant was per-se for domestic criminal prosecution.

 Defendant is alleged to have committed non-violent malum prohibitum acts, which

 have absolutely nothing whatsoever to do with National Security.

                                   CONCLUSION

       The defendant’s Motion To Discover Evidence Secured Pursuant To The

 Foreign Intelligence Surveillance Act Of 1978, As Amended By 50 U.S.C. §§ 1801

 -1812 must be granted as a matter of law and fact. Wherefore, this court should do

 the following:

    (1) Compel the government to determine if the Attorney General will submit an

       affidavit attesting that disclosure of FISA application, FISA Order, and all

       cogent materials thereto would harm national security;

    (2) Where the Attorney General submits an affidavit, this court should provide

       defendant a copy of that affidavit;

    (3) This court should as a matter of law conduct an in camera, ex parte inspection,

       review of the FISA application, FISA Order, and all cogent materials thereto,

       and determine whether the surveillance was lawfully authorized and

       appropriately conducted;

    (4) This court should disclose FISA application, FISA Order, and all cogent

       materials thereto to defendant’s counsels because such disclosures are


                                             22
Case 2:18-cr-20559-NGE-MKM ECF No. 28 filed 02/08/19    PageID.113   Page 31 of 31



       necessary to make an accurate determination of the legality of the

       surveillance.


                              Respectfully submitted,


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                                      23
